          Case 4:16-cv-04046-VLD Document 155 Filed 02/20/20 Page 1 of 4 PageID #: 1642

                            lLmte4                                        Co'^rf'
                           District                P<^kof<\
                                 SouTmrn Division


   A.StlOMe Jhy/as Beth,                     ^       ClV' lt> DOpb
        Pkhfiff      pro se, ^             (
                |zL_                         f AFfirtavit sP
    Vrrrin ymm gf el,                        1
                  DpfnnJa4s                 ( uos&pP) Ronald Sma/k .Sh
                                           (

      Zf Jo^fpl] ({ Sm/ls Sr., c^prlare UrtrJer iip.
' of perjury -fpgf -fPr.- ih//owina siaieMenl's ape jfnf toh4
  rx>tirf>rD fd ike hcttof Aiv kMowledac.:                                         ^

^/,) T.        a Pn<;ohff Penrr.fi                  aT the Jai>ie..'^on PnsoH ^/te/
o/r9onM Dnkoia StAr P^r}'itei^f]ary.(sDJPJ. anrJ ram curra(Hy
hfiiji/i^ hnaspJ on B-F/ooiri       wrHi     D R^//rp/ahirfiP),ier
 vP^nm Wifh Z have //Ved h/'/tp 70r Zje lacf fkrfi.efi^Afoi4fifiS„ ioiq/^
 rotr/fMu^. tn live.                                          ^

*Z) In -Php^ Zr^r. 1Pgve pVeJ \PifP) .'tptm D- FP'Jtj/o Cp/ft^fl
  Zha\/P \A/'itiieSSP.iPI        SD,Sp/p.DC. f^mn/oy,<'es andSiatP
 Zre/ff' ZPamC' P>. fif>// an ilJiprotk'isioi^ql. d!.$cr}mMiD\/e. \/DrJicZi/f ^
 rrncP refallPoty mofn^p/: Aly mowMj P^mMv                     e.x'pres'; qefrj
 COMyey i^/ljy Z htlicyc jPiS. P-n he, true.
                                            1
          Case 4:16-cv-04046-VLD Document 155 Filed 02/20/20 Page 2 of 4 PageID #: 1643




      Tt h C                  KinDullpJafi. t^mom t>rSi                           Populafloin
  UflJ D.O.r.. ^nt^Oyees               ^To-ff Siah                D. BfiJ/ //?5 ii/fd /?
 Ciyi/          LaWJi^jf' rjqc(f/i<f~ PppaTjlytPifif otCorrection's of^0^4^ P^k<hi
 ^'kjh' , as if/s rpoKFi^ ahoiAtopr.Jj/ hy ^i^p/oyees ofP-O-C^
 ^nc?! XfiMafe5 ^/Ke}
 he.'hA/epio C')rrt4mal(Wi'cff5                     ^
 s/moleni^j /^y                          . ^haiie D.
     .L Cannot reroll He specfic c/a:^?' <fj(1a.(rh/y^ baf^n.^'t rejc.ei.{fy^
    7^^ .ipro/ir:! wepk ^JafmAiry^7.010, //^ 7^^,
 7^<? ?'^5'PA1 Couy\t- Tl^^; ZT                       ^y}M                  {orreshomj
(Off/cp-r Si/{/^Jisn/j rq// Shai^f D. p,e//                                               Of-f/rer-
 Jh'ly'aii^unjJ^ko IaM5                           CotrpchohalOfficer S\Ajei/isot/)^
 fi(fp persopi 7^ lAi/^om CO^ 5lvp^5o/^ ms de^criloir}^ My ^n-Lh/iai4:
 \jhen .'?he 5%tM'/'0li,       /{s'^-hole^^ '^ \^Jh//e conclacilh^
      Com^f'of^          Ths h m Sprurfy           /3ni2zje of -jheS^e.
  ■f^vo[2^ fpi4^j€: Qffcen ^foppM^ af' cell^71 d^mj
t5I^ DrO.C, f^fUp/oyces ai^d           Cu^reiAt/y mrk or hai/e^
preyftDLP^/y wnrKp'r^ 0^ B-Floof, [{fjkere S'l^ahP f). pe// /fyPiX -hrerff-
S'/7aM€- p, BpJ! mclirfivpiv, /in di-0prp^^^^^ iroN gj-^en.for e^gfrjpk:
 ^^^A/Zoyfn^ o/'l^eir OrrMrlj rhm(^ps 7^ \A/orl< \Ajk]le l^pppji^ Shai^e V. Bell
 jpckpA-lm r:lumj y^x^mK l^nars,(sha^e Dr B^cUis m Orderly lA/cr/{erl
h:l D}<;a(/mAj/i^^ A/ni a.%/oAp/s Showed Krokfle                       oHxpir Zmcdpy 'to.
 CBe/r!^ pJ/oWeJ ib SlfDwer oh -Hie Ih'A/s 0i9e df -fhe heapflh provicleJ \/Jorl<erJmck}
C:) Rejeasfui^ Ot/ipf T^m^eS -fhr huddhsf Grv^p^ qyid                           P- tf' pH
 tfpk'^Jiot m -jie 1/5^^ -to jOj as h Cnmri^on Kyto^hdjp -H\ri-k Ije. Is
f^eadl-Facfliia,tor of -^/sSpinft^J^Belij/o^s ^roup.
        Case 4:16-cv-04046-VLD Document 155 Filed 02/20/20 Page 3 of 4 PageID #: 1644




      J- hdv-t wifhessed o^) i^Jfinje iocM/om                                0. ]}a/l mJcp.
pfowi^cSle^ rp(^aed/j ih ff,^ //V/- Cordm^K^r Eakr^i/^ ior SacJn
 fdry^S ai/)4 ^Orgy/iPidj /^Znforml f^^/^fibh f{<^i^esfy>AJMlmiraij\/€P.meJy^
({^.u.e.<t<i^    ^nevot/ice.fvrms       he. fp/rJ by /In Fckre/i
  T^ayb^ /atf^r) ''Kite                ^ or jmt J^j/iore Shm^P^ deHj gnd
 Wcill<^ /"iway. Ppr Policy jt'/.S (hit CohrllmforEckretrs'5 ohlicj^jfibin aiArl
res/)Oii's}bdity fb i)iroMce atyi <?upply iiii^sp. iBm5 upnh remes'h ihir
resolve and remedy pgjfypses.                             ^cl<rrf/\ {reyuf^nf/y n^/eck fJf5
dufieS; yurk           -f^ese^ (°x^Mpk3,,
       wa^ ir /^y eejl/S-'^lO wifl] Shme A ?'>elL 0V{ /doHcta^, Jmuar^
       2010^ \ajIipi/\ X                      Uird- CotJimforl^cKver /ssue Sandioh^^
on SAa/ff A Be// -^r                                  /{/OT          ^            /^^//cv
reywre.iMPJif')^ ^n4         '/" ^Ih^ '^ho.i/i'^ D- E&U fo maK^e. Cl sfat^mehfjCfS
 /5 M rJ/rec!^ ]/[okffn(A (pf^ Pmon Policy. S^mie bad ihen a^Me^-fhr
                 rm ^nsf
oj /^rfeVgnce. firm^  . . , ^//
                            .                   h repliedy
                                                    , ^ ^Tve. moveJ-On
            Jrn t/fem/Iy /n 7#g trpclollc rf anoMrr Wtlte-c^pl] arid
 F^nnrer^            D. BpZ/.c r^QlAesi ibir l^em^dy/S^rktv^ylrJP^ kf^yoc^sir
^$^)5k^e         JeIL wa'; f<;';uecl J/')(/6)P:3yS Cfi/R(=sfr/rf/n^.
Tlfl^ fyteg/f'; '^JiaMf. p- R/'f! wl// urit he p^rmji/ed io use phone-,
 afffind Rprrmffbn. or aff'm/i j'he ,%meson Buddhfsf'^roi^p. Lv^/rJi
        p. 8p1                   /rnd Teades re^t/kr/y^ iwke a lA/e.ek.
     iZ ivas TpJuciant'-k) n^)me f-orwt^rd a^rJ i^ak&. -fhese^
 ZdtualL
     ^ f'y Ba^eJ
           —                     -r - ■ ■ r    -fir
                                               9    i^r af
                                                        - ■ Refdia-hpyi
                                                                — » t •• -ftrorn} ]).£>.€.
                                                                                  co«^    ■
j^mphy^es anrJ StafF^ as Tcan see^ whafFFhd^^ p.B' c'Jl a/parp&milj/
/ozusT enolure. /doWeypp H ppJ/p^Vf. ]hlfr(Alik,Riirnep.^^^                                   ,
T aho fakt S>/ac^                       -Haf /dy Sentence wdjlk cofjcMeci jhorf/y, ^
        Case 4:16-cv-04046-VLD Document 155 Filed 02/20/20 Page 4 of 4 PageID #: 1645




V/9J JZ helie^/f. Un'if Case Manayr UBret. aurl l/hif'AnaQcr-
  Sp.f/i ffu^hcK /:(rf trpaflha Me it) a. pecMhaf                                        ne^aiiye rmnner
 njrer/dp (juf, jv jie jjict -Htaf'T n/h C.ufre^f'ly l-fousej Mifk /^(S-
pkinirf^. Shaw h Bpfj. TI^P ahovr          Sfad¥ afp. ndama^t'
ahoqf ahariwil^ My djrmk~        ^s/pyiMenf. ev^m afi'tff
kivrmed -fkem Had' such cl -fmnsfpr -fhom My CwrreiftAsfanmet^
 Will be, h/7:Lap-Jnn<; fti My s^-frh /ynd ydfU'heh^. X regaesi^
 if) UukI My                  rfay^^ khl^y Cmevit/husiup         as
     /i^ovp/jWjn'ifer jf) adrPlrrpiih LorafroJlJnif imv result'jn
 Yfoienf' acf^ fnMrd.s /fe -frm danj-ioeMhers. a-; Ipis hoMensA beihre.
 ai"Hfi      •ka'h    Case/iancfjpr LaErpf ioldMe.tr iv/// he^
     jv, pb-repardinp Yiy eypres'jpj recj^aed' h rmak j^i^rp cp
tTamescn        Ji^f/opr, celld^Y      r^epardless &f Yacj- CJrrum-
^janiTal /^WaifMe jllniY dtsf Msnajer laSree irtiish upot) ihe^
 r^r}-nprf.isary iratlSTer cf Alv pprsoy\io pohiiHally Ho-xanious
 Phr'ilii)'p<i hi:>r/7ase of /Av cs^ockjlofi wijii pla/W-jf, 'yham D. ^pJ!
*^ll) id m fHak'my-Mese ifaifmenis nbMv ikn/yre VJil/.ldhave. nallifM
  to gam, mr ha\ie T hfPft rnerced hy am/ person io r/)ynp -Bnmrd W
 iriaff ^- rk. Alw -j/if Irufh pre vall^    Jc/stfre PprseWanf,.
                                                                   ><:—
                                                                      ''uo<;e/)l\ RomIcI Smils Sn
   SdscnhfJ W 9worn k hodhre lie iAk ^                                                fJau nf
   ildmnry, 7~jD7 O
                         OAREK EKEREN
                              NOTARY PUBLIC
                              SOUTH DAKOTA
                                                                   /pSkry J^/c f>f- .Shuii PaJcnifX
                 r*'*''i'I* I* ri'i'iTi'i* YiTYrtiiiiniijtiiii I
                                                                   Aiy lo/fimssiot,     'O g/oI IZd^S
